      Case 3:19-bk-30822 Doc 108-4 Filed 10/11/19 Entered 10/11/19 14:47:50 Desc
 Exhibit - D - Emails between Stern and Earley re: Settlement Agreement and Requ Page 1 of 1

Stephen Stern

From:                             Ronald Earley <ronald.earley1 @gmail.com>
Sent:                             Friday, August 16, 2019 11:52 AM
To:                               Stephen Stern
Cc:                               Ken Kayser; ctravlr@comcast.net; Douglas S. Draper (ddraper@hellerdraper.com); Leslie
                                  Collins; Robert R. Kracht (rrk@mccarthylebit.com); Nicholas R. Oleski
                                  (nro@mccarthylebit.com)
Subject:                          Re: Tagnetics - Settlement Agreement


Stephen,

My concerns are similar to Jon Hager's.

1. I do not expect my $30,000 loan and accruing interest to be handled any different that any other company debt, but
would like it acknowledged as surviving this agreement.
2. Stock ownership should also survive this agreement.

Can you send out an updated agreement with the changes submitted?

Best regards,
Ron Earley
Cell: 937-609-2825

On Wed, Aug 14, 2019 at 6:00 PM Stephen Stern <Stern@kaganstern.com> wrote:

 Ken, Ron, and Jon:




Attached is a draft of the settlement agreement to resolve the Tagnetics litigation. I also have attached a
draft agreed order to dismiss the case, consistent with what was discussed during the Status Conference last
week. Please review each carefully and let me know if you have any comments or questions. I will be out of
the office tomorrow (Thursday), but I will be able to respond to em ails and I will have pockets oftime where I
can take/make calls during the day.




I look forward to hearing from you.




Stephen




                                                                                                            EXHIBIT

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